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 4
     Attorney For Defendant
 5   JOSHUA COFFMAN
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )            No. CR 08-0093-KJM
12                                   )
                    Plaintiff,       )
13                                   )           APPLICATION FOR
          v.                         )           TRANSPORTATION ORDER
14                                   )           PURSUANT TO 18 U.S.C. § 4285;
                                     )           PROPOSED ORDER
15   JOSHUA COFFMAN, et. al.,        )
                                     )
16                                   )
                    Defendants.      )
17   _______________________________ )
18         Defendant Joshua Coffman, by and through his court appointed counsel, John
19   Balazs, hereby applies to this Court for an order of transportation and subsistence
20   allowance in the interest of justice pursuant to 18 U.S.C. § 4285, for Mr. Coffman’s round-
21   trip travel for a scheduled change of plea hearing on September 11, 2013, at 9:00 a.m.
22   before U.S. District Judge Kimberly J. Mueller in the federal courthouse, 501 I Street,
23   Sacramento, CA 95814.
24         1. Mr. Coffman resides in Ardmore, California Pennsylvania near Philadelphia,
25   Pennsylvania. He is indigent and has been appointed counsel under the Criminal Justice
26   Act. Mr. Coffman is unable to afford travel, lodging, and subsistence to enable him to
27   attend his change of plea hearing in the Sacramento federal court on September 11, 2013,
28   at 9:00 a.m.
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 1         2. Mr. Coffman requests that travel be arranged for him to fly from Philadelphia
 2   (PHL) to Sacramento (SMF) on September 10, 2013, one-night lodging on September 10,
 3   2013, and for return travel from Sacramento to Philadelphia on September 11, 2013 after
 4   all proceedings have concluded.
 5         For these reasons, he request an order from the Court for round-trip travel between
 6   Philadelphia and Sacramento, one-night lodging, and subsistence for a change of plea
 7   hearing on September 11, 2013 in the interest of justice.
 8                                                Respectfully submitted,
 9
10         Dated: August 27, 2013
11                                                /s/ John Balazs
                                                  John Balazs
12
                                                  Attorney for Defendant
13                                                JOSHUA COFFMAN
14
15
                                               ORDER
16
           IT IS SO ORDERED. Pursuant to 18 U.S.C. § 4285 and in the interest of justice,
17
     the United States Marshal in Sacramento is authorized and directed to furnish defendant
18
     Joshua Coffman with airfare from Philadelphia International Airport (PHL) to Sacramento
19
     International Airport (SMF) on September 10, 2013, one night lodging on September 10,
20
     2013, and for his return transportation after all proceedings on September 11, 2013. In
21
     addition, the U.S. Marshal is directed to furnish subsistence expenses not to exceed the
22
     amount authorized as a per diem allowance for travel under 5 U.S.C. § 5702(a).
23
24   Dated: August 29, 2013.
25
26
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